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   10   www.patpat.com
   11                        UNITED STATES DISTRICT COURT
   12                      CENTRAL DISTRICT OF CALIFORNIA
   13
        NEMAN BROTHERS & ASSOC.,                  Case No.: 2:20-cv-11181-CAS-JPR
   14 INC., a California Corporation,
                                                  STATEMENT OF GENUINE
   15               Plaintiff,                    DISPUTES OF MATERIAL FACT
                                                  BY DEFENDANT INTERFOCUS,
   16         v.                                  INC. IN OPPOSITION TO
                                                  PLAINTIFF’S MOTION FOR
   17 INTERFOCUS, INC. d.b.a.                     SUMMARY JUDGMENT
        www.patpat.com, a Delaware
   18 Corporation; CAN WANG, and                  Date: August 23, 2021
        individual, and DOES 1-10, inclusive,     Time: 10:00 am
   19                                             Courtroom: 8D
                    Defendants.
   20                                             Honorable Christine A. Snyder
   21 INTERFOCUS, INC. d.b.a.
        www.patpat.com, a Delaware
   22 Corporation; CAN WANG, and
        individual, and DOES 1-10, inclusive,
   23
                    Counterclaim Plaintiffs,
   24         v.
   25 NEMAN BROTHERS & ASSOC.,
        INC., a California Corporation,
   26
                    Counterclaim Defendant.
   27

   28

           STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
                      OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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    1          Defendant and counterclaimant InterFocus, Inc. d.b.a. www.patpat.com
    2 (“Interfocus”) presents the following Statement of Genuine Disputes of Genuine

    3 Material Fact pursuant to Local Rule 56-2 as follows:

    4   INTERFOCUS INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT

    5
                            Disputed Fact                     Controverting Facts and Evidence
    6

    7   1.    Neman Brothers is a Los Angeles-               Neman Brothers is a California
    8         based textile converter selling fabrics        company that has filed almost a
    9         to the garment manufacturers that              hundred copyright infringement
   10         manufacture garments out of our                actions, and whose conduct resembles
   11         fabrics, to be sold to the retailer            that of a “copyright troll.” Motion
   12         businesses. Neman Brothers generates           Declaration of Mark S. Lee [“Lee
   13         business by marketing its line of              Decl.”] ¶ 2 and Ex. 1, Dkt. No. 35-1;
   14         designs to its customers, who will             Malibu Media, L.L.C. v. Doe, 2015
   15         purchase Neman Brothers’ design-               WL 4092417, *2 (S.D.N.Y. July 6,
   16         oriented fabric to be created into             2015).
   17         clothing and sold at retail stores
   18         nationwide.
   19
        2.    As the fabric wholesale industry is very       Undisputed but irrelevant.
   20
              competitive as to the qualities and the
   21
              pricing, one major way of enhancing
   22
              the competitiveness is to develop
   23
              unique designs to be printed upon the
   24
              fabric, which would make the fabrics
   25
              more attractive, unique and
   26
              competitive. Therefore, having original
   27
              and proprietary artwork is critical to
   28
                                                       -2-
             STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
                        OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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    1
                          Disputed Fact                   Controverting Facts and Evidence
    2

    3        Neman Brothers’ ability to compete in

    4        the marketplace, and it invests heavily

    5        in its design team and its proprietary

    6        line of design.

    7
        3.   Neman Brothers either internally            Undisputed but irrelevant
    8
             creates, or purchases the ownership
    9
             from design studios, two-dimensional
   10
             works of art for use on textiles which
   11
             Neman Brothers customers use to make
   12
             garments to be sold to retail businesses.
   13

   14   4.   Unauthorized use of Neman Brothers'         Neman Brothers is a California

   15        designs undermines its competitive          company that has filed almost a

   16        advantage in a highly competitive           hundred copyright infringement

   17        industry. Therefore, for protection of      actions, and whose conduct resembles

   18        the designs, Neman Brothers routinely       that of a “copyright troll.” Motion

   19        registers new artworks as a collection      Declaration of Mark S. Lee [“Lee

   20        for copyrights with the U.S. Copyright      Decl.”] ¶ 2 and Ex. 1, Dkt. No. 35-1;

   21        Office before introducing them to the       Malibu Media, L.L.C. v. Doe, 2015

   22        market.                                     WL 4092417, *2 (S.D.N.Y. July 6,

   23                                                    2015).
   24
        5.   Unfortunately, as there are many            Neman Brothers is a California
   25
             businesses selling illegal copies, some     company that has filed almost a
   26
             willful infringers and some innocent        hundred copyright infringement
   27
             infringers, Neman Brothers get to find      actions, and whose conduct resembles
   28
                                                   -3-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                          Disputed Fact                     Controverting Facts and Evidence
    2

    3        many illegal copies, and for protection       that of a “copyright troll.” Motion

    4        of its copyrights, has had to file            Declaration of Mark S. Lee [“Lee

    5        numerous cases when the parties could         Decl.”] ¶ 2 and Ex. 1, Dkt. No. 35-1;

    6        not settle the matter prior to filing the     Malibu Media, L.L.C. v. Doe, 2015

    7        actions. Most of the cases settled. In        WL 4092417, *2 (S.D.N.Y. July 6,

    8        none of the settlement agreements in          2015)..
    9        those cases, Neman Brothers never
   10        agreed the defendants’ liability for
   11        future infringements would be
   12        completely released as long as the
   13        defendants remove the future infringing
   14        garments off their selves or website
   15        because it would be like giving a
   16        permanent unlimited license for free
   17        unless the defendants pay fair amount
   18        in return for such quasi-license.
   19
        6.   Neman Brothers pays companies that            Undisputed but irrelevant.
   20
             perform printing services to print fabric
   21
             bearing Neman Brothers’ exclusive
   22
             designs. Neman Brothers then sells that
   23
             fabric to its customer base, which is
   24
             composed mainly of companies that
   25
             make and sell garments to retailers.
   26

   27   7.   Neman Brothers, whenever introducing Undisputed but irrelevant.
   28
                                                     -4-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
                    OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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    1
                            Disputed Fact                 Controverting Facts and Evidence
    2

    3        new designs, make sure its vendors and

    4        customers understand that Neman

    5        Brothers’ designs are proprietary work

    6        copyright registered. Neman Brothers’

    7        vendors agree to not print or sell fabric

    8        bearing Neman Brothers’ designs

    9        unless specifically authorized by

   10        Neman Brothers.

   11
        8.   Neman Brothers is the owner of two-         The originality and protectability of
   12
             dimensional artworks called NB161106 this copyright is disputed because the
   13
             (“Subject Design 1”), NB170268              subject designs are very similar to
   14
             (“Subject Design 2”) and NB180228           independently created pre-existing
   15
             (“Subject Design 3”) which are at issue designs that are widely available in the
   16
             in this case                                Chinese market, where the products at
   17
                                                         issue were produced by independent
   18
                                                         vendors. (Opp. Lee Decl. ¶ 3 and Exs.
   19
                                                         1 and 2.) Additional discovery could,
   20
                                                         uncover evidence that the fabric
   21
                                                         patterns used to create the garments
   22
                                                         InterFocus sold were created
   23
                                                         independently of the patterns in which
   24
                                                         Neman Brothers claims copyright by
   25
                                                         someone else, or that the fabric
   26
                                                         patterns used by InterFocus’ Chinese
   27
                                                         third party vendors were acquired
   28
                                                   -5-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                      Disputed Fact                  Controverting Facts and Evidence
    2

    3                                               from the same fabric manufacturer

    4                                               from whom Neman Brothers acquired

    5                                               its alleged U.S. copyrights, or that the

    6                                               designs at issue originated with

    7                                               another manufacturer from whom

    8                                               Neman Brothers’ assignor copied it, or

    9                                               other facts that could provide defenses

   10                                               to the present copyright infringement

   11                                               claims. (Opp. Lee Decl. ¶ 4.)

   12                                               InterFocus is attempting to gather this

   13                                               information now, but due to the

   14                                               difficulties and uncertainties of

   15                                               conducting international discovery in

   16                                               China, it has not yet succeeded in

   17                                               obtaining it. (Opp. Lee Decl. ¶¶ 6-7 6-

   18                                               7; Opp. Le Decl. ¶ 3.) Neman

   19                                               Brothers has also admitted that it

   20                                               manufactured and sold its copyrighted

   21                                               designs in China (Declaration of Yoel

   22                                               Neman ¶14, Docket No. 42-1), and

   23                                               thus InterFocus’ third-party vendors

   24                                               may have purchased the fabric designs

   25                                               at issue from authorized vendors and it

   26                                               therefore may not be liable under the

   27                                               first sale doctrine on this basis.

   28
                                              -6-
        STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                 Controverting Facts and Evidence
    2

    3                                                 InterFocus should be permitted to

    4                                                 conduct further investigation and

    5                                                 discovery on these issues pursuant to

    6                                                 Fed. R. Civ. Proc 56(d).

    7
        9.   The Subject Design 1 was registered      Undisputed but irrelevant. The
    8
             with the United States Copyright         originality and protectability of this
    9
             Office on January 13, 2017, and          copyright is disputed because the
   10
             allocated Registration VAu-1-304-334.    subject designs are very similar to
   11
                                                      independently created pre-existing
   12
                                                      designs that are widely available in the
   13
                                                      Chinese market, where the products at
   14
                                                      issue were produced by independent
   15
                                                      vendors. (Opp. Lee Decl. ¶ 3 and Exs.
   16
                                                      1 and 2.) Additional discovery could,
   17
                                                      uncover evidence that the fabric
   18
                                                      patterns used to create the garments
   19
                                                      InterFocus sold were created
   20
                                                      independently of the patterns in which
   21
                                                      Neman Brothers claims copyright by
   22
                                                      someone else, or that the fabric
   23
                                                      patterns used by InterFocus’ Chinese
   24
                                                      third party vendors were acquired
   25
                                                      from the same fabric manufacturer
   26
                                                      from whom Neman Brothers acquired
   27
                                                      its alleged U.S. copyrights, or that the
   28
                                                -7-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                      Disputed Fact                  Controverting Facts and Evidence
    2

    3                                               designs at issue originated with

    4                                               another manufacturer from whom

    5                                               Neman Brothers’ assignor copied it, or

    6                                               other facts that could provide defenses

    7                                               to the present copyright infringement

    8                                               claims. (Opp. Lee Decl. ¶ 4.) Neman

    9                                               Brothers has also admitted that it

   10                                               manufactured and sold its copyrighted

   11                                               designs in China (Declaration of Yoel

   12                                               Neman ¶14, Docket No. 42-1), and

   13                                               thus InterFocus’ third-party vendors

   14                                               may have purchased the fabric designs

   15                                               at issue from authorized vendors and it

   16                                               therefore may not be liable under the

   17                                               first sale doctrine on this basis.

   18                                               InterFocus is attempting to gather this

   19                                               information now, but due to the

   20                                               difficulties and uncertainties of

   21                                               conducting international discovery in

   22                                               China, it has not yet succeeded in

   23                                               obtaining it. (Opp. Lee Decl. ¶¶ 6-7 6-

   24                                               7; Opp. Le Decl. ¶ 3.) InterFocus

   25                                               should be permitted to conduct further

   26                                               investigation and discovery on these

   27                                               issues pursuant to Fed. R. Civ. Proc

   28
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        STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                        Disputed Fact                  Controverting Facts and Evidence
    2

    3                                                 56(d).

    4
        10. The Subject Design 2 was registered       Undisputed but irrelevant. The
    5
            with the United States Copyright          originality and protectability of this
    6
            Office on March 3, 2017, and allocated copyright is disputed because the
    7
            Registration VAu-1-317-742.               subject designs are very similar to
    8
                                                      independently created pre-existing
    9
                                                      designs that are widely available in the
   10
                                                      Chinese market, where the products at
   11
                                                      issue were produced by independent
   12
                                                      vendors. (Opp. Lee Decl. ¶ 3 and Exs.
   13
                                                      1 and 2.) Additional discovery could,
   14
                                                      uncover evidence that the fabric
   15
                                                      patterns used to create the garments
   16
                                                      InterFocus sold were created
   17
                                                      independently of the patterns in which
   18
                                                      Neman Brothers claims copyright by
   19
                                                      someone else, or that the fabric
   20
                                                      patterns used by InterFocus’ Chinese
   21
                                                      third party vendors were acquired
   22
                                                      from the same fabric manufacturer
   23
                                                      from whom Neman Brothers acquired
   24
                                                      its alleged U.S. copyrights, or that the
   25
                                                      designs at issue originated with
   26
                                                      another manufacturer from whom
   27
                                                      Neman Brothers’ assignor copied it, or
   28
                                                -9-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                        Disputed Fact                  Controverting Facts and Evidence
    2

    3                                                 other facts that could provide defenses

    4                                                 to the present copyright infringement

    5                                                 claims. (Opp. Lee Decl. ¶ 4.) Neman

    6                                                 Brothers has also admitted that it

    7                                                 manufactured and sold its copyrighted

    8                                                 designs in China (Declaration of Yoel

    9                                                 Neman ¶14, Docket No. 42-1), and

   10                                                 thus InterFocus’ third-party vendors

   11                                                 may have purchased the fabric designs

   12                                                 at issue from authorized vendors and it

   13                                                 therefore may not be liable under the

   14                                                 first sale doctrine on this basis.

   15                                                 InterFocus is attempting to gather this

   16                                                 information now, but due to the

   17                                                 difficulties and uncertainties of

   18                                                 conducting international discovery in

   19                                                 China, it has not yet succeeded in

   20                                                 obtaining it. (Opp. Lee Decl. ¶¶ 6-7 6-

   21                                                 7; Opp. Le Decl. ¶ 3.) InterFocus

   22                                                 should be permitted to conduct further

   23                                                 investigation and discovery on these

   24                                                 issues pursuant to Fed. R. Civ. Proc

   25                                                 56(d).

   26
        11. The Subject Design 3 was registered       Undisputed but irrelevant. The
   27
            with the United States Copyright          originality and protectability of this
   28
                                               -10-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                       Disputed Fact                  Controverting Facts and Evidence
    2

    3      Office on April 30, 2018, and allocated copyright is disputed because the

    4      Registration VAu-1-330-970.               subject designs are very similar to

    5                                                independently created pre-existing

    6                                                designs that are widely available in the

    7                                                Chinese market, where the products at

    8                                                issue were produced by independent

    9                                                vendors. (Opp. Lee Decl. ¶ 3 and Exs.

   10                                                1 and 2.) Additional discovery could,

   11                                                uncover evidence that the fabric

   12                                                patterns used to create the garments

   13                                                InterFocus sold were created

   14                                                independently of the patterns in which

   15                                                Neman Brothers claims copyright by

   16                                                someone else, or that the fabric

   17                                                patterns used by InterFocus’ Chinese

   18                                                third party vendors were acquired

   19                                                from the same fabric manufacturer

   20                                                from whom Neman Brothers acquired

   21                                                its alleged U.S. copyrights, or that the

   22                                                designs at issue originated with

   23                                                another manufacturer from whom

   24                                                Neman Brothers’ assignor copied it, or

   25                                                other facts that could provide defenses

   26                                                to the present copyright infringement

   27                                                claims. (Opp. Lee Decl. ¶ 4.) Neman

   28
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    1
                         Disputed Fact                     Controverting Facts and Evidence
    2

    3                                                     Brothers has also admitted that it

    4                                                     manufactured and sold its copyrighted

    5                                                     designs in China (Declaration of Yoel

    6                                                     Neman ¶14, Docket No. 42-1), and

    7                                                     thus InterFocus’ third-party vendors

    8                                                     may have purchased the fabric designs

    9                                                     at issue from authorized vendors and it

   10                                                     therefore may not be liable under the

   11                                                     first sale doctrine on this basis.

   12                                                     InterFocus is attempting to gather this

   13                                                     information now, but due to the

   14                                                     difficulties and uncertainties of

   15                                                     conducting international discovery in

   16                                                     China, it has not yet succeeded in

   17                                                     obtaining it. (Opp. Lee Decl. ¶¶ 6-7 6-

   18                                                     7; Opp. Le Decl. ¶ 3.) InterFocus

   19                                                     should be permitted to conduct further

   20                                                     investigation and discovery on these

   21                                                     issues pursuant to Fed. R. Civ. Proc

   22                                                     56(d).

   23
        12. After the registrations of the new            The originality and protectability of
   24
             designs including the Subject Designs,       this copyright is disputed because
   25
             Neman Brothers provided samples in           InterFocus is informed and believes
   26
             the forms of swatch (a small piece of        they are very similar to independently
   27
             fabric), hanger (fabric sample with          created pre-existing designs that are
   28
                                                   -12-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                        Disputed Fact                     Controverting Facts and Evidence
    2

    3      headers), and CAD (a piece of paper           widely available in the Chinese

    4      having the design printed upon) to the        market, where the products at issue

    5      customers, who are primarily garment          were produced by independent

    6      manufacturers, wholesalers and/or             vendors. (Opp. Lee Decl. ¶ 3 and

    7      importers either located in, or using the Exhs. 1 and 2.) Additional discovery

    8      vendors in, fashion districts in Los          could, for example, uncover evidence

    9      Angeles, Shenzhen, Foshan,                    that the fabric patterns used to create

   10      Guangzhou, and Shaoxing cities where          the garments InterFocus sold were

   11      most of factories and mills are located.      created independently of the patterns

   12                                                    in which Neman Brothers claims

   13                                                    copyright by someone else, or that the

   14                                                    fabric patterns used by InterFocus’

   15                                                    Chinese third party vendors were

   16                                                    acquired from the same fabric

   17                                                    manufacturer from whom Neman

   18                                                    Brothers acquired its alleged U.S.

   19                                                    copyrights, or that the designs at issue

   20                                                    originated with another manufacturer

   21                                                    from whom Neman Brothers’ assignor

   22                                                    copied it, or other facts that could

   23                                                    provide defenses to the present

   24                                                    copyright infringement claims. (Opp.

   25                                                    Lee Decl. ¶ 4.) Neman Brothers has

   26                                                    also admitted that it manufactured and

   27                                                    sold its copyrighted designs in China

   28
                                                  -13-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                        Disputed Fact                   Controverting Facts and Evidence
    2

    3                                                  (Declaration of Yoel Neman ¶14,

    4                                                  Docket No. 42-1), and thus

    5                                                  InterFocus’ third-party vendors may

    6                                                  have purchased the fabric designs at

    7                                                  issue from authorized vendors and it

    8                                                  therefore may not be liable under the

    9                                                  first sale doctrine on this basis.

   10                                                  InterFocus is attempting to gather this

   11                                                  information now, but due to the

   12                                                  difficulties and uncertainties of

   13                                                  conducting international discovery in

   14                                                  China, it has not yet succeeded in

   15                                                  obtaining it. (Opp. Lee Decl. ¶¶ 6-7;

   16                                                  Opp. Le Decl. ¶ 3.) InterFocus should

   17                                                  be permitted to conduct further

   18                                                  investigation and discovery on these

   19                                                  issues pursuant to Fed. R. Civ. Proc

   20                                                  56(d).

   21
        13. Neman Brothers on a constant basis         Undisputed but irrelevant.
   22
            widely circulated the samples, and sold
   23
            the fabrics, bearing the Subject
   24
            Designs.
   25

   26 14. While Neman Brothers give out
                                                       Undisputed but irrelevant.

   27       swatches, hangers and CADs as

   28       samples for free to potential customers,
                                                -14-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                    Controverting Facts and Evidence
    2

    3       in the case customers order a few

    4       yards, typically 1-5 yards, in order to

    5       make their garment samples, Neman

    6       Brothers charge more or less of $5

    7       dollars per yard, depending on the

    8       quantity and the fabric type. Neman

    9       Brothers also provide samples using

   10       multiple different colorways for each

   11       design.

   12
        15. As shown in the swatch sheet, Neman          Undisputed but irrelevant.
   13
            Brothers creates multiple style numbers
   14
            based on kind of fabric, colorways, and
   15
            the design, which is to be used for
   16
            communications with customers and
   17
            vendors. For Subject Design 1, Neman
   18
            Brothers used 20335 as part of the style
   19
            numbers. While other part of the style
   20
            numbers may change depending upon
   21
            the fabric type and the colorways,
   22
            20335 would be used to specify the
   23
            design on the fabric would be the
   24
            Subject Design 1.
   25

   26 16. Neman Brothers sales history records,          Undisputed but Irrelevant

   27       maintained in the MOD2, a sale record

   28
                                                  -15-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                          Disputed Fact                     Controverting Facts and Evidence
    2

    3        keeping system, show each sale of

    4        fabrics bearing the Subject Design 1,

    5        identified as “20335”, to customers in

    6        the amount of about 143,048 yards for

    7        2 years since the registration in 2017

    8        until early 2019, which typically makes

    9        70,000 to 140,000 garments to be sold

   10        through retailers including national

   11        retail stores such as Rainbow, Macy’s

   12        and other online stores. For example,

   13        Byer California is one of the biggest

   14        garment manufacturers in the U.S.

   15        selling the garments to the national

   16        retail chains such as Kohl’s, Macy’s,

   17        etc. and actually used on multiple

   18        occasions in the years of 2017-2019 a

   19        factory located in Shaoxing City to

   20        make garments out of the Neman

   21        Brother’s fabrics. Exhibit 8.

   22
        17. Due to Interfocus’ infringing activities       An unsupported conclusion based on
   23
             in 2019 and 2020 of displaying and            no facts, and preposterous because
   24
             selling the Infringing Garments on its        InterFocus’ total profits from all sales
   25
             website, from the second half of 2019         of disputed designs in this action was
   26
             and until the present, Neman Brothers         less than $1000. Opp. Le Decl. ⁋ 5.
   27
             did not receive the orders for the
   28
                                                    -16-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                       Controverting Facts and Evidence
    2

    3       fabrics bearing the Subject Design 1.

    4       Given Neman Brothers typically sells

    5       the fabrics for more or less of $3 per

    6       yard, its loss of sale from the

    7       infringement amounts to $214,572 per

    8       year. At the rate of 30% margin,
    9       Neman Brothers’ typical margin ratio,
   10       it is about $71,524 as lost profit per
   11       year, as to Subject Design 1. Therefore,
   12       after Interfocus infringement, Neman
   13       Brothers lost $143,048 profits for the
   14       years of 2020 and 2021.
   15
        18. Neman Brothers’ swatch sheet showing Undisputed but irrelevant.
   16
            multiple different colorways of the
   17
            Subject Design 2. For Subject Design
   18
            2, Neman Brothers used 20419 as part
   19
            of the style numbers.
   20

   21 19. Neman Brothers sales history records,             Undisputed but irrelevant.

   22       maintained in the MOD2, a sale record

   23       keeping system, show each sale of

   24       fabrics bearing the Subject Design 2,

   25       identified as “20419”, to customers in

   26       the amount of about 48,870 yards for 2

   27       years mainly since the registration in

   28
                                                     -17-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                          Disputed Fact                    Controverting Facts and Evidence
    2

    3        2017 until early 2019. Neman Brothers

    4        could sell some fabrics in 2020 and

    5        2021 too, but the total amount

    6        compared to prior years, was minimal.

    7
        20. Due to Interfocus’ infringing activities      An unsupported conclusion based on
    8
             in 2019 and 2020 of displaying and           no facts, and preposterous because
    9
             selling the Infringing Garments on its       InterFocus’ total profits from all sales
   10
             website, from the second half of 2019        of the disputed designs in this action
   11
             and until the present, Neman Brothers        was less than $1000. Opp. Le Decl. ⁋
   12
             did not receive, except a few, the           5.
   13
             orders for the fabrics bearing the
   14
             Subject Design 2. Given Neman
   15
             Brothers typically sells the fabrics for
   16
             more or less of $3 per yard, its loss of
   17
             sale from the infringement amounts to
   18
             $73,305 per year. At the rate of 30%
   19
             margin, it is about $21,991.5 as lost
   20
             profit per year, as to Subject Design 2.
   21
             Therefore, after Interfocus
   22
             infringement, Neman Brothers lost
   23
             $43,983 profits for the years of 2020
   24
             and 2021.
   25

   26 21. Exhibit 11 is a true and correct copy of        Undisputed but irrelevant.
   27        Neman Brothers’ swatch sheet showing
   28
                                                   -18-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                      Controverting Facts and Evidence
    2

    3       multiple different colorways of the

    4       Subject Design 3. For Subject Design

    5       3, Neman Brothers used 21060 as part

    6       of the style numbers. While other part

    7       of the style numbers may change

    8       depending upon the fabric type and the

    9       colorways, 21060 would be used to

   10       specify the design on the fabric would

   11       be the Subject Design 3.

   12
        22. Neman Brothers sales history records,          Undisputed but irrelevant.
   13
            maintained in the MOD2, our sales
   14
            record keeping system, show each sale
   15
            of fabrics bearing the Subject Design 3,
   16
            identified as “21060”, to customers in
   17
            the amount of about 16,247 yards for 2
   18
            years since the registration in early
   19
            2018 until 2019. Due to Interfocus’
   20
            infringing activities in 2019 and 2020
   21
            of displaying and selling the Infringing
   22
            Garments on its website, from the
   23
            second half of 2019 and until the
   24
            present, Neman Brothers received only
   25
            a few orders for the fabrics bearing the
   26
            Subject Design 3. Given Neman
   27
            Brothers typically sells the fabrics for
   28
                                                    -19-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                          Disputed Fact                   Controverting Facts and Evidence
    2

    3       more or less of $3 per yard, its loss of

    4       sale from the infringement amounts to

    5       $24,370.5 per year. At the rate of 30%

    6       margin, it is about $7,311.15 as lost

    7       profit per year, as to Subject Design 3.

    8
        23. In 2019, Interfocus infringed upon           Undisputed but irrelevant, because 1)
    9
            Neman Brothers’ copyrights on Subject Neman Brothers already released
   10
            Design 1, by displaying and selling the      InterFocus for such claims in a
   11
            Maternity Dress (“Prior Infringing           previous settlement agreement.
   12
            Garment 1”) and shown in Exhibit 13.         Motion Le Decl. ¶¶ 2-4, Exs 2 and 3,
   13
            Submitted herewith as Exhibit 13 is a        Dkt. No. 35-1, 4 and 5
   14
            copy of the screenshots from
   15
            Interfocus’ website (patpat.com) and
   16
            the pictures of the actual garment.
   17
            Therefore, Neman Brothers sued
   18
            Interfocus in 2019 (case no. 2:19-cv-
   19
            10112) (“Prior Case”).
   20

   21
        24. Interfocus also displayed and sold           Undisputed but irrelevant, because 1)

   22
            Baby Floral Shirt and Dress (“Prior          Neman Brothers already released

   23
            Infringing Garment 2”) The said              InterFocus for such claims in a

   24
            garments were also litigated in the          previous settlement agreement.

   25
            Prior Case.                                  Motion Le Decl. ¶¶ 2-4, Exs 2 and 3,

   26                                                    Dkt. No. 35-1, 4 and 5; and 2) Neman

   27                                                    Brothers agreed InterFocus could

   28
                                                  -20-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                   Controverting Facts and Evidence
    2

    3                                                   “cure” that alleged infringement by

    4                                                   stopping sales of the allegedly

    5                                                   infringing product on wit website

    6                                                   within 7 days of receiving notice in

    7                                                   that previous settlement agreement,

    8                                                   and InterFocus effected that cure.
    9                                                   Motion Le Decl. ¶¶ 2-4, 11-12, 14,
   10                                                   Exs 2 and 3, Dkt. No. 35-1, 4 and 5.
   11
        25. The Prior Case settled and the parties      Undisputed. Motion Le Decl. ¶¶ 2-4,
   12
             executed the settlement agreement          Exs 2 and 3. Dkt. No. 35-1, 4 and 5.
   13
             (“Prior Settlement Agreement”) as
   14
             shown in
   15

   16 26. Not long after the Prior Settlement, on       Undisputed but irrelevant, because

   17        September 4, 2020, I found Interfocus      Neman Brothers agreed InterFocus

   18        again displayed and sold the same          could “cure” that alleged infringement

   19        Maternity Dress (“Infringing Garment       by stopping sales of the allegedly

   20        1”) in “navy” and “red” colors as          infringing product on wit website

   21        shown in Exhibits 15 to 18. I ordered      within 7 days of receiving notice in a

   22        and bought the Infringing Garment 1.       previous settlement agreement, and

   23        Submitted herewith as Exhibits 15          InterFocus effected that cure as
   24        through 17 are copies of the               permitted by the prior settlement
   25        screenshots from Interfocus’ website       agreement. Motion Le Decl. ¶¶ 2-4,
   26        (patpat.com) displaying the Infringing     11-12, 14, Exs 2 and 3, Dkt. No. 35-1,
   27        Garment 1. The pictures of Infringing      4 and 5.
   28
                                                 -21-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                          Disputed Fact                      Controverting Facts and Evidence
    2

    3        Garment 1 are also submitted as

    4        Exhibits 16 and 18. While the dress in

    5        the picture of the dress on the

    6        screenshot in the Prior Case had short

    7        sleeves, the actual garment I received

    8        was sleeveless. Exhibit 13. The
    9        Infringing Garment 1 I found and
   10        bought also were sleeveless and
   11        identical with the dress in the Prior
   12        Case.
   13
        27. The care tags of the Prior Infringing           Undisputed but irrelevant, because
   14
             Garment 1 and the Infringing Garment           Neman Brothers agreed InterFocus
   15
             1 however, indicated different Stock           could “cure” that alleged infringement
   16
             Keeping Unit (“SKU”) numbers which             by stopping sales of the allegedly
   17
             means they were from different batches infringing product on wit website
   18
             of production. They also had different         within 7 days of receiving notice in a
   19
             Lot Numbers, different fabric                  previous settlement agreement, and
   20
             substance ratios (75% cotton and 25%           InterFocus effected that cure as
   21
             polyester v. 100% cotton), different           permitted by the prior settlement
   22
             labels (Interfocus v. Shenzhen YS              agreement. Motion Le Decl. ¶¶ 2-4,
   23
             Garment Factory), and different                11-12, 14, Exs 2 and 3, Dkt. No. 35-1,
   24
             production times (201905 v. 202007).           4 and 5.
   25
             As it typically takes a couple of months
   26
             from sampling to actual production, the
   27
             production in July 2020 means
   28
                                                     -22-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                        Disputed Fact                   Controverting Facts and Evidence
    2

    3       Interfocus started the whole procedure

    4       of sampling, ordering, reviewing, etc.

    5       at least from May 2020, which is less

    6       than two months after the Prior

    7       Settlement on March 23, 2020.

    8
        28. On September 4, 2020, Neman                Undisputed but irrelevant, because
    9
            Brothers also found Interfocus             Neman Brothers agreed InterFocus
   10
            displayed and sold Baby Dress              could “cure” that alleged infringement
   11
            (Infringing Garment 2) which were          by stopping sales of the allegedly
   12
            using the exact same pattern with the      infringing product on wit website
   13
            Prior Infringing Garment 2). Neman         within 7 days of receiving notice in a
   14
            Brothers ordered and bought the            previous settlement agreement, and
   15
            Infringing Garment 2.                      InterFocus effected that cure as
   16
                                                       permitted by the prior settlement
   17
                                                       agreement. Motion Le Decl. ¶¶ 2-4,
   18
                                                       11-12, 14, Exs 2 and 3, Dkt. No. 35-1,
   19
                                                       4 and 5.
   20

   21 29. The side-by-side comparison of the           Undisputed but irrelevant, because
   22       care tags of the two show that they also Neman Brothers agreed InterFocus
   23       had different SKU numbers, Lot             could “cure” that alleged infringement
   24       Numbers, different fabric substance        by stopping sales of the allegedly
   25       ratios (100% cotton v. 95% cotton and      infringing product on wit website
   26       5% polyester), different labels            within 7 days of receiving notice in a
   27       (Interfocus v. Foshan SCCQ Trading         previous settlement agreement, and
   28
                                                -23-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                      Controverting Facts and Evidence
    2

    3        Lt.), and different production times          InterFocus effected that cure as

    4        (201901 v. 202007).                           permitted by the prior settlement

    5                                                      agreement. Motion Le Decl. ¶¶ 2-4,

    6                                                      11-12, 14, Exs 2 and 3, Dkt. No. 35-1,

    7                                                      4 and 5.

    8
        30. Again, as it typically takes a couple of       Undisputed but irrelevant, because
    9
             months from sampling to actual                Neman Brothers agreed InterFocus
   10
             production, the production in July 2020 could “cure” that alleged infringement
   11
             means Interfocus started the whole            by stopping sales of the allegedly
   12
             procedure of sampling, ordering,              infringing product on wit website
   13
             reviewing, etc. at least from May 2020, within 7 days of receiving notice in a
   14
             which is less than two months after the       previous settlement agreement, and
   15
             Prior Settlement on March 23, 2020.           InterFocus effected that cure as
   16
                                                           permitted by the prior settlement
   17
                                                           agreement. Motion Le Decl. ¶¶ 2-4,
   18
                                                           11-12, 14, Exs 2 and 3, Dkt. No. 35-1,
   19
                                                           4 and 5.
   20

   21 31. In October 2020, I also found another            Undisputed but irrelevant, because

   22        infringing garment called Green Maxi          Neman Brothers sued InterFocus

   23        Dress (“Infringing Garment 3”).               without giving InterFocus “Adequate

   24                                                      Notification” and an opportunity to

   25                                                      cure the alleged infringement before

   26                                                      filing suit by curing it as required by a
   27                                                      previous settlement agreement, and
   28
                                                    -24-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                      Controverting Facts and Evidence
    2

    3                                                      because InterFocus “cured” the

    4                                                      alleged infringement after it learned of

    5                                                      Neman Brothers’ claims. Motion Le

    6                                                      Decl. ¶¶ 2-4, 11-12, 14, Exs. 2 and 3,

    7                                                      Dkt. No. 35-1, 4 and 5.

    8
        32. The side-by-side comparisons of the            The originality and protectability of
    9
            Subject Designs and the Infringing             this copyright is disputed because the
   10
            Garments reveals they are virtually            subject designs are very similar to
   11
            identical in most of the objective             independently created pre-existing
   12
            details of the elements forming the            designs that are widely available in the
   13
            designs and even arrangements of the           Chinese market, where the products at
   14
            elements. The chance for the two               issue were produced by independent
   15
            independently created designs to               vendors. (Opp. Lee Decl. ¶ 3 and Exs.
   16
            happen to have the same elements               1 and 2.) Additional discovery could,
   17
            identical in details and the same              uncover evidence that the fabric
   18
            arrangement of those elements would            patterns used to create the garments
   19
            be far less than one in a million, in          InterFocus sold were created
   20
            other words impossible.                        independently of the patterns in which
   21
                                                           Neman Brothers claims copyright by
   22
                                                           someone else, or that the fabric
   23
                                                           patterns used by InterFocus’ Chinese
   24
                                                           third party vendors were acquired
   25
                                                           from the same fabric manufacturer
   26
                                                           from whom Neman Brothers acquired
   27
                                                           its alleged U.S. copyrights, or that the
   28
                                                    -25-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                       Disputed Fact                  Controverting Facts and Evidence
    2

    3                                                designs at issue originated with

    4                                                another manufacturer from whom

    5                                                Neman Brothers’ assignor copied it, or

    6                                                other facts that could provide defenses

    7                                                to the present copyright infringement

    8                                                claims. (Opp. Lee Decl. ¶ 4.)

    9                                                InterFocus is attempting to gather this

   10                                                information now, but due to the

   11                                                difficulties and uncertainties of

   12                                                conducting international discovery in

   13                                                China, it has not yet succeeded in

   14                                                obtaining it. (Opp. Lee Decl. ¶¶ 6-7 6-

   15                                                7; Opp. Le Decl. ¶ 3.) Neman

   16                                                Brothers has also admitted that it

   17                                                manufactured and sold its copyrighted

   18                                                designs in China (Declaration of Yoel

   19                                                Neman ¶14, Docket No. 42-1), and

   20                                                thus InterFocus’ third-party vendors

   21                                                may have purchased the fabric designs

   22                                                at issue from authorized vendors and it

   23                                                therefore may not be liable under the

   24                                                first sale doctrine on this basis.

   25                                                InterFocus should be permitted to

   26                                                conduct further investigation and

   27                                                discovery on these issues pursuant to

   28
                                              -26-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                     Controverting Facts and Evidence
    2

    3                                                     Fed. R. Civ. Proc 56(d).

    4
        33. The first page of Exhibit 23 shows            The originality and protectability of
    5
            most of the elements, if not all, on the      this copyright is disputed because the
    6
            Infringing Garment 1 are copied from          subject designs are very similar to
    7
            the Subject Design 1. The second page         independently created pre-existing
    8
            shows the major motif (indicated in red designs that are widely available in the
    9
            circles) having the main elements             Chinese market, where the products at
   10
            arranged in a certain way are identical       issue were produced by independent
   11
            while there were some crude efforts to        vendors. (Opp. Lee Decl. ¶ 3 and Exs.
   12
            give the appearance of dissimilarity on       1 and 2.) Additional discovery could,
   13
            the Infringing Design 1 by taking out a       uncover evidence that the fabric
   14
            few small leaves or flowers. Not only         patterns used to create the garments
   15
            the arrangement, the shapes of the            InterFocus sold were created
   16
            flower, flower buds, stems, leaves, and       independently of the patterns in which
   17
            color shadings are also the same. These Neman Brothers claims copyright by
   18
            are not a combination of generic shapes someone else, or that the fabric
   19
            like triangle, circle, square or line, but    patterns used by InterFocus’ Chinese
   20
            about a very detailed hand-drawn and          third party vendors were acquired
   21
            intricate description of flowers, stems,      from the same fabric manufacturer
   22
            leaves, and their arrangement. No             from whom Neman Brothers acquired
   23
            designer would not be able to draw the        its alleged U.S. copyrights, or that the
   24
            design twice in the exact same way in         designs at issue originated with
   25
            such details without seeing it and            another manufacturer from whom
   26
            copying it. This part standing alone          Neman Brothers’ assignor copied it, or
   27
            forms an original and protectible             other facts that could provide defenses
   28
                                                   -27-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                   Controverting Facts and Evidence
    2

    3       element, and the Infringing Garment 1       to the present copyright infringement

    4       copied it.                                  claims. (Opp. Lee Decl. ¶ 4.) Neman

    5                                                   Brothers has also admitted that it

    6                                                   manufactured and sold its copyrighted

    7                                                   designs in China (Declaration of Yoel

    8                                                   Neman ¶14, Docket No. 42-1), and

    9                                                   thus InterFocus’ third-party vendors

   10                                                   may have purchased the fabric designs

   11                                                   at issue from authorized vendors and it

   12                                                   therefore may not be liable under the

   13                                                   first sale doctrine on this basis.

   14                                                   InterFocus is attempting to gather this

   15                                                   information now, but due to the

   16                                                   difficulties and uncertainties of

   17                                                   conducting international discovery in

   18                                                   China, it has not yet succeeded in

   19                                                   obtaining it. (Opp. Lee Decl. ¶¶ 6-7 6-

   20                                                   7; Opp. Le Decl. ¶ 3.) InterFocus

   21                                                   should be permitted to conduct further

   22                                                   investigation and discovery on these

   23                                                   issues pursuant to Fed. R. Civ. Proc

   24                                                   56(d).

   25
        34. Even the elements describing small          The originality and protectability of
   26
            flowers, small leaves, and small stems,     this copyright is disputed because the
   27
            as well as their shapes, shades,            subject designs are very similar to
   28
                                                 -28-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                        Disputed Fact                      Controverting Facts and Evidence
    2

    3      locations, colors, directions and              independently created pre-existing

    4      arrangements are strikingly identical,         designs that are widely available in the

    5      which cannot possibly be a coincidence Chinese market, where the products at

    6      of two independently created design            issue were produced by independent

    7      having such identities in every details.       vendors. (Opp. Lee Decl. ¶ 3 and Exs.

    8      The second and the third pages of              1 and 2.) Additional discovery could,

    9      Exhibit 23 also show the remaining             uncover evidence that the fabric

   10      elements on Infringing Garment 1 were patterns used to create the garments
   11      nothing but the result of flipping or          InterFocus sold were created

   12      rotating the elements of the Subject           independently of the patterns in which

   13      Design 1.                                      Neman Brothers claims copyright by

   14                                                     someone else, or that the fabric

   15                                                     patterns used by InterFocus’ Chinese

   16                                                     third party vendors were acquired

   17                                                     from the same fabric manufacturer

   18                                                     from whom Neman Brothers acquired

   19                                                     its alleged U.S. copyrights, or that the

   20                                                     designs at issue originated with

   21                                                     another manufacturer from whom

   22                                                     Neman Brothers’ assignor copied it, or

   23                                                     other facts that could provide defenses

   24                                                     to the present copyright infringement

   25                                                     claims. (Opp. Lee Decl. ¶ 4.) Neman

   26                                                     Brothers has also admitted that it

   27                                                     manufactured and sold its copyrighted

   28
                                                   -29-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                     Controverting Facts and Evidence
    2

    3                                                     designs in China (Declaration of Yoel

    4                                                     Neman ¶14, Docket No. 42-1), and

    5                                                     thus InterFocus’ third-party vendors

    6                                                     may have purchased the fabric designs

    7                                                     at issue from authorized vendors and it

    8                                                     therefore may not be liable under the

    9                                                     first sale doctrine on this basis.

   10                                                     InterFocus is attempting to gather this

   11                                                     information now, but due to the

   12                                                     difficulties and uncertainties of

   13                                                     conducting international discovery in

   14                                                     China, it has not yet succeeded in

   15                                                     obtaining it. (Opp. Lee Decl. ¶¶ 6-7 6-

   16                                                     7; Opp. Le Decl. ¶ 3.) InterFocus

   17                                                     should be permitted to conduct further

   18                                                     investigation and discovery on these

   19                                                     issues pursuant to Fed. R. Civ. Proc

   20                                                     56(d).

   21
        35. The same is true about the Infringing         The originality and protectability of
   22
            Garment 2. On the first page, the             this copyright is disputed because the
   23
            circles in different colors indicate          subject designs are very similar to
   24
            which parts are corresponding to each         independently created pre-existing
   25
            other on the two. Most of the elements,       designs that are widely available in the
   26
            if not all, on the Infringing Garment 2       Chinese market, where the products at
   27
            are from the elements of the Subject          issue were produced by independent
   28
                                                   -30-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                       Disputed Fact                  Controverting Facts and Evidence
    2

    3      Design 2.                                 vendors. (Opp. Lee Decl. ¶ 3 and Exs.

    4                                                1 and 2.) Additional discovery could,

    5                                                uncover evidence that the fabric

    6                                                patterns used to create the garments

    7                                                InterFocus sold were created

    8                                                independently of the patterns in which

    9                                                Neman Brothers claims copyright by

   10                                                someone else, or that the fabric

   11                                                patterns used by InterFocus’ Chinese

   12                                                third party vendors were acquired

   13                                                from the same fabric manufacturer

   14                                                from whom Neman Brothers acquired

   15                                                its alleged U.S. copyrights, or that the

   16                                                designs at issue originated with

   17                                                another manufacturer from whom

   18                                                Neman Brothers’ assignor copied it, or

   19                                                other facts that could provide defenses

   20                                                to the present copyright infringement

   21                                                claims. (Opp. Lee Decl. ¶ 4.)

   22                                                InterFocus is attempting to gather this

   23                                                information now, but due to the

   24                                                difficulties and uncertainties of

   25                                                conducting international discovery in

   26                                                China, it has not yet succeeded in

   27                                                obtaining it. Neman Brothers has also

   28
                                              -31-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                        Disputed Fact                   Controverting Facts and Evidence
    2

    3                                                  admitted that it manufactured and sold

    4                                                  its copyrighted designs in China

    5                                                  (Declaration of Yoel Neman ¶14,

    6                                                  Docket No. 42-1), and thus

    7                                                  InterFocus’ third-party vendors may

    8                                                  have purchased the fabric designs at

    9                                                  issue from authorized vendors and it

   10                                                  therefore may not be liable under the

   11                                                  first sale doctrine on this basis. (Opp.

   12                                                  Lee Decl. ¶¶ 6-7 6-7; Opp. Le Decl. ¶

   13                                                  3.) InterFocus should be permitted

   14                                                  to conduct further investigation and

   15                                                  discovery on these issues pursuant to

   16                                                  Fed. R. Civ. Proc 56(d).

   17
        36. The second page of Exhibit 24 shows The originality and protectability of
   18
            the biggest element as the main motif, this copyright is disputed because the
   19
            circled in red on page 1, are identical in subject designs are very similar to
   20
            shapes, arrangements, directions, and independently created pre-existing
   21
            locations while there were some crude designs that are widely available in the
   22
            efforts to give the appearance of Chinese market, where the products at
   23
            dissimilarity on some leaves or flowers. issue were produced by independent
   24
            Such also appear to be the result of vendors. (Opp. Lee Decl. ¶ 3 and Exs.
   25
            lowering the printing cost for the 1 and 2.) Additional discovery could,
   26
            garment’s low pricing by simplifying uncover evidence that the fabric
   27
            some details and colors of the elements. patterns used to create the garments
   28
                                                -32-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                       Disputed Fact                   Controverting Facts and Evidence
    2

    3      Pages 3, 4 and 5 also show the InterFocus sold were created

    4      remaining    elements   used   on    the independently of the patterns in which

    5      Infringing Garment 2 are nothing but a Neman Brothers claims copyright by

    6      rotated or flipped version of the someone else, or that the fabric

    7      elements on the Subject Design 2.          patterns used by InterFocus’ Chinese

    8                                                 third party vendors were acquired

    9                                                 from the same fabric manufacturer

   10                                                 from whom Neman Brothers acquired

   11                                                 its alleged U.S. copyrights, or that the

   12                                                 designs at issue originated with

   13                                                 another manufacturer from whom

   14                                                 Neman Brothers’ assignor copied it, or

   15                                                 other facts that could provide defenses

   16                                                 to the present copyright infringement

   17                                                 claims. (Opp. Lee Decl. ¶ 4.)

   18                                                 InterFocus is attempting to gather this

   19                                                 information now, but due to the

   20                                                 difficulties and uncertainties of

   21                                                 conducting international discovery in

   22                                                 China, it has not yet succeeded in

   23                                                 obtaining it. (Opp. Lee Decl. ¶¶ 6-7 6-

   24                                                 7; Opp. Le Decl. ¶ 3.) Neman

   25                                                 Brothers has also admitted that it

   26                                                 manufactured and sold its copyrighted

   27                                                 designs in China (Declaration of Yoel

   28
                                               -33-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                   Controverting Facts and Evidence
    2

    3                                                   Neman ¶14, Docket No. 42-1), and

    4                                                   thus InterFocus’ third-party vendors

    5                                                   may have purchased the fabric designs

    6                                                   at issue from authorized vendors and it

    7                                                   therefore may not be liable under the

    8                                                   first sale doctrine on this basis.

    9                                                   InterFocus should be permitted to

   10                                                   conduct further investigation and

   11                                                   discovery on these issues pursuant to

   12                                                   Fed. R. Civ. Proc 56(d).

   13
        37. The first page of Exhibit 25 again          The originality and protectability of
   14
            shows the main motifs on the                this copyright is disputed because the
   15
            Infringing Garment 3 are copies of the      subject designs are very similar to
   16
            elements on the Subject Design 3. The       independently created pre-existing
   17
            second page shows all elements of the       designs that are widely available in the
   18
            main motif circled in red on the first      Chinese market, where the products at
   19
            page are the same as the elements of        issue were produced by independent
   20
            the Subject Design 3. The third page        vendors. (Opp. Lee Decl. ¶ 3 and Exs.
   21
            also shows the remaining elements are       1 and 2.) Additional discovery could,
   22
            in fact a rotated or flipped version of     uncover evidence that the fabric
   23
            the element on Subject Design 3.            patterns used to create the garments
   24
                                                        InterFocus sold were created
   25
                                                        independently of the patterns in which
   26
                                                        Neman Brothers claims copyright by
   27
                                                        someone else, or that the fabric
   28
                                                 -34-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                       Disputed Fact                  Controverting Facts and Evidence
    2

    3                                                patterns used by InterFocus’ Chinese

    4                                                third party vendors were acquired

    5                                                from the same fabric manufacturer

    6                                                from whom Neman Brothers acquired

    7                                                its alleged U.S. copyrights, or that the

    8                                                designs at issue originated with

    9                                                another manufacturer from whom

   10                                                Neman Brothers’ assignor copied it, or

   11                                                other facts that could provide defenses

   12                                                to the present copyright infringement

   13                                                claims. (Opp. Lee Decl. ¶ 4.)

   14                                                InterFocus is attempting to gather this

   15                                                information now, but due to the

   16                                                difficulties and uncertainties of

   17                                                conducting international discovery in

   18                                                China, it has not yet succeeded in

   19                                                obtaining it. (Opp. Lee Decl. ¶¶ 6-7 6-

   20                                                7; Opp. Le Decl. ¶ 3.) Neman

   21                                                Brothers has also admitted that it

   22                                                manufactured and sold its copyrighted

   23                                                designs in China (Declaration of Yoel

   24                                                Neman ¶14, Docket No. 42-1), and

   25                                                thus InterFocus’ third-party vendors

   26                                                may have purchased the fabric designs

   27                                                at issue from authorized vendors and it

   28
                                              -35-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                          Disputed Fact                      Controverting Facts and Evidence
    2

    3                                                       therefore may not be liable under the

    4                                                       first sale doctrine on this basis.

    5                                                       InterFocus should be permitted

    6                                                       to conduct further investigation and

    7                                                       discovery on these issues pursuant to

    8                                                       Fed. R. Civ. Proc 56(d).

    9
        38. As discussed above, the comparisons of Undisputed but irrelevant, because
   10
            the care tags of the Prior Infringing Neman Brothers agreed InterFocus
   11
            Garments 1 and 2 with the same of the could “cure” that alleged infringement
   12
            Infringing Garments 1 and 2 show the by stopping sales of the allegedly
   13
            Infringing Garments at issue in this case infringing product on wit website
   14
            are not part of the prior production of the within 7 days of receiving notice in a
   15
            Prior Infringing Garments. It was a new previous settlement agreement, and
   16
            production that happened in July 2020, InterFocus effected that cure as
   17
            which procedure started from May 2020 permitted by the prior settlement
   18
            which was less than two months after agreement. Motion Le Decl. ¶¶ 2-4,
   19
            the settlement on March 23, 2020 in the 11-12, 14, Exs 2 and 3, Dkt. No. 35-1,
   20
            Prior Case.                                     4 and 5.
   21

   22 39. Interfocus failed to present any evidence         The originality and protectability of

   23       for such rebuttal, rather, the evidence this copyright is disputed because the

   24       below strongly show that NB owns the subject designs are very similar to

   25       Subject    Design.      For   example,     in independently created pre-existing
   26       response to the interrogatories asking designs that are widely available in the
   27       about     Interfocus’    or   its   vendor’s Chinese market, where the products at
   28
                                                     -36-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
                     OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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    1
                       Disputed Fact                  Controverting Facts and Evidence
    2

    3      independent creation and any prior issue were produced by independent

    4      work, Interfocus stated only “it is vendors. (Opp. Lee Decl. ¶ 3 and Exs.

    5      informed and believes the designs at 1 and 2.) Additional discovery could,

    6      issue are very similar to independently uncover evidence that the fabric

    7      created pre-existing designs…” which patterns used to create the garments
    8      has no evidentiary value at all. InterFocus sold were created
    9      (emphasis added)                          independently of the patterns in which

   10                                                Neman Brothers claims copyright by

   11                                                someone else, or that the fabric

   12                                                patterns used by InterFocus’ Chinese

   13                                                third party vendors were acquired

   14                                                from the same fabric manufacturer

   15                                                from whom Neman Brothers acquired

   16                                                its alleged U.S. copyrights, or that the

   17                                                designs at issue originated with

   18                                                another manufacturer from whom

   19                                                Neman Brothers’ assignor copied it, or

   20                                                other facts that could provide defenses

   21                                                to the present copyright infringement

   22                                                claims. (Opp. Lee Decl. ¶ 4.)

   23                                                InterFocus is attempting to gather this

   24                                                information now, but due to the

   25                                                difficulties and uncertainties of

   26                                                conducting international discovery in

   27                                                China, it has not yet succeeded in

   28
                                              -37-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                     Controverting Facts and Evidence
    2

    3                                                     obtaining it. (Opp. Lee Decl. ¶¶ 6-7 6-

    4                                                     7; Opp. Le Decl. ¶ 3.) Neman

    5                                                     Brothers has also admitted that it

    6                                                     manufactured and sold its copyrighted

    7                                                     designs in China (Declaration of Yoel

    8                                                     Neman ¶14, Docket No. 42-1), and

    9                                                     thus InterFocus’ third-party vendors

   10                                                     may have purchased the fabric designs

   11                                                     at issue from authorized vendors and it

   12                                                     therefore may not be liable under the

   13                                                     first sale doctrine on this basis.

   14                                                     InterFocus should be permitted to

   15                                                     conduct further investigation and

   16                                                     discovery on these issues pursuant to

   17                                                     Fed. R. Civ. Proc 56(d).

   18
        40. Interfocus response to Interrogatory 6        The interrogatory response does not
   19
            admits that in the ordinary procedures,       “admit” what Neman Brothers claims
   20
            Interfocus orders the garments it likes       its does. Opp. Lee Decl. Ex. 1. Also
   21
            after it reviews the sample pictures, and irrelevant, because Neman Brothers
   22
            do the quality inspection, and start          agreed InterFocus could “cure” the
   23
            sales of the garments.                        alleged infringement by stopping sales
   24
                                                          of the allegedly infringing product on
   25
                                                          wit website within 7 days of receiving
   26
                                                          notice in a previous settlement
   27
                                                          agreement, and InterFocus effected
   28
                                                   -38-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                      Controverting Facts and Evidence
    2

    3                                                      that cure as permitted by the prior

    4                                                      settlement agreement. Motion Le

    5                                                      Decl. ¶¶ 2-4, 11-12, 14, Exs 2 and 3,

    6                                                      Dkt. No. 35-1, 4 and 5.

    7
        41. Interfocus further admitted it controlled This is an unsupported assertion
    8
             the display procedure of the garments by unsupported by any facts. InterFocus
    9
             stating Interfocus’ vendors do not has made no such admission. Opp. Lee
   10
             upload the information relating to the Decl. Ex. 1.
   11
             Infringing Garments.
   12

   13 42.         The above clearly shows                  Disputed and irrelevant, because

   14        Interfocus soon after signing the Prior       Neman Brothers agreed InterFocus

   15        Settlement Agreement on March 23,             could “cure” that alleged infringement

   16        2020, promptly started the sampling           by stopping sales of the allegedly

   17        procedure, reviewed the samples of the        infringing product on wit website

   18        Infringing Garments 1 and 2, ordered          within 7 days of receiving notice in a

   19        them again as Interfocus liked it in          previous settlement agreement, and
   20        May 2020 (Exhibits 39 and 40),                InterFocus effected that cure as
   21        uploaded the garment pictures with the        permitted by the prior settlement
   22        information on the website on July 1,         agreement. Motion Le Decl. ¶¶ 2-4,
   23        2020 for Infringing Garment 1 and             11-12, 14, Exs. 2 and 3, Dkt. No. 35-1,
   24        June 19, 2020 for Infringing Garment 2 4 and 5.

   25        and sold them until September 16,

   26        2020. Exhibit 33. Even worse, it turned

   27        out the Interfocus continued to sell the

   28
                                                    -39-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                   Controverting Facts and Evidence
    2

    3       Prior Infringing Garment 1 and the

    4       Prior Infringing Garment 2 even after

    5       the Prior Settlement until September

    6       2020. Exhibit 33.

    7
        43. The above shows it is undisputed soon       Disputed and irrelevant, because
    8
            after the settlement of the Prior Case      Neman Brothers agreed InterFocus
    9
            where the Subject Designs 1 and 2           could “cure” that alleged infringement
   10
            were litigated, Interfocus again            by stopping sales of the allegedly
   11
            reviewed, chose, ordered, uploaded,         infringing product on wit website
   12
            displayed and sold the Infringing           within 7 days of receiving notice in a
   13
            Garments 1 and 2, which sufficiently        previous settlement agreement, and
   14
            establishing copying after the actual       InterFocus effected that cure as
   15
            access.                                     permitted by the prior settlement
   16
                                                        agreement. Motion Le Decl. ¶¶ 2-4,
   17
                                                        11-12, 14, Exs. 2 and 3, Dkt. No. 35-1,
   18
                                                        4 and 5.
   19

   20 44. Even as to Subject Design 3, Interfocus       This is a legal argument, not a

   21       should be found to be a willful             statement of fact. It is also disputed

   22       infringer under Unicolors v. Urban          and irrelevant, because Neman
   23       Outfitters. In response to the              Brothers entered into a settlement
   24       interrogatory asking about preventive       agreement in which it agreed to give
   25       measures Interfocus has taken,              InterFocus “Adequate Notification”
   26       Interfocus stated Interfocus takes down and an opportunity to cure this alleged

   27       the garments after receiving notices,       infringement within 7 says, but failed
   28
                                                 -40-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                       Controverting Facts and Evidence
    2

    3       which is not a “preventive” measure at          to give such notice before filing suit

    4       all. Interfocus also stated in its              herein and thereby breached that

    5       response that it requires vendors to            settlement agreement. InterFocus

    6       license its intellectual property to            nevertheless cured that alleged

    7       Interfocus. Again, it at the best means         infringement as permitted by the prior

    8       only if a vendor has an intellectual            settlement agreement once it learned
    9       property, it would have to license it to        of Neman Brothers’ claim in its
   10       Interfocus, which has nothing do to             amended complaint herein, and
   11       with reasonable preventive measure              therefore cannot be liable on any basis
   12       such as checking on the source of the           on this claim. Motion Le Decl. ¶¶ 2-
   13       design on the samples when reviewing            4, 11-12, 14, Exs. 2 and 3, Dkt. No.
   14       and before making an order.                     35-1, 4 and 5.
   15
        45. In the discovery, Interfocus never This is a legal argument, not a
   16
            produced any evidence showing such statement of fact. It is also disputed
   17
            reasonable     efforts.   The        sampling and irrelevant, because Neman
   18
            procedure     explained    in    Interfocus Brothers entered into a settlement
   19
            responses in fact admits it simply agreement in which it agreed to give
   20
            review, like and then order. There is no InterFocus “Adequate Notification”
   21
            checking on copyright issues. Rather, and an opportunity to cure this alleged
   22
            even after knowing on the copyright infringement within 7 says, but failed
   23
            issues, Interfocus would dare to order to give such notice before filing suit
   24
            again, and display and sell online again. herein and thereby breached that
   25
            It is exactly what the Nineth Circuit settlement agreement. InterFocus
   26
            Court    called    “willful     blindness”, nevertheless cured that alleged
   27
            “reckless policy”, and “no attempt to infringement as permitted by the prior
   28
                                                     -41-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                         Disputed Fact                    Controverting Facts and Evidence
    2

    3        check or inquire” into copyright issues. settlement agreement once it learned

    4                                                    of Neman Brothers’ claim in its

    5                                                    amended complaint herein, and

    6                                                    therefore cannot be liable on any basis

    7                                                    on this claim. Motion Le Decl. ¶¶ 2-

    8                                                    4, 11-12, 14, Exs 2 and 3, Dkt. No. 35-
    9                                                    1, 4 and 5.
   10
        46. In this case, Interfocus produced only a This is legal argument, not a statement
   11
             self-serving chart made after receiving of fact, and is irrelevant to Neman
   12
             the cease and desist letter in September Brothers’ motion. Further, though
   13
             2020, in anticipation of a litigation, irrelevant to this motion, InterFocus
   14
             which is nothing but a hearsay. In did produce sales records.
   15
             response to the interrogatories asking
   16
             for accounting the total sales, earnings
   17
             and costs, Interrogatory stated it would
   18
             produce    charts.   Interfocus    never
   19
             produced any real business records,
   20
             such as purchase order, invoice, or sales
   21
             reports from the sales record keeping
   22
             system.
   23
        STATEMENT OF ADDITIONAL FACTS PRECLUDING STATEMENT OF
   24
                                  UNCONTROVERTED FACTS
   25

   26

   27

   28
                                                 -42-
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                      Undisputed Fact                                   Evidence
    2
          1. Summary judgment previously has              Neman Brothers & Assoc., Inc. v.
    3
        been entered against Neman Brothers for,          One Step up Ltd., 764 Fed. Appx 624
    4
        inter alia, refiling released copyright           (9th Cir. March 25, 2019)
    5
        infringement claims.
    6
          2. Neman Brothers released InterFocus           PSA §5, Exs. 2 and 3, Dkt. Nos. 35-1,
    7
        from liability for all claims Neman Brothers 4 and 5.
    8
        asserted or could have asserted in the
    9
        Previous Action in the PSA.
   10
          3. In the PSA, Neman Brothers Neman             PSA §5, Exs. 2 and 3, Dkt. Nos. 35-1,
   11
        Brothers agreed to give InterFocus written        4 and 5.
   12
        notice of any future alleged infringement of
   13
        intellectual property, and allowed
   14
        InterFocus seven business days thereafter to
   15
        “cure” it by removing the allegedly
   16
        infringed products from its platform.
   17
          4. In the PSA, Neman Brothers agreed            PSA §5, Exs. 2 and 3, Dkt. Nos. 35-1,
   18
        that it would not file a lawsuit against          4 and 5.
   19
        InterFocus for an alleged infringement until
   20
        30 days after giving InterFocus after giving
   21
        written notice so the parties could resolve
   22
        the dispute amicably by, for example,
   23
        InterFocus curing the alleged infringements
   24
        as provided earlier in that paragraph.
   25
          5. InterFocus fully complied with all of        Motion Le Decl. ¶ 5.
   26
        its obligations under the PSA following its
   27
        execution.
   28
                                                   -43-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                     Undisputed Fact                                  Evidence
    2
          6. Neman Brothers dismissed its claims        PSA § 7, Exs. 2 and 3, Dkt. Nos. 35-
    3
        against InterFocus with prejudice in the        1, 4 and 5; Previous Action Dkt. No.
    4
        Previous Action, as the PSA required it to      19.
    5
        do.
    6
          7. As required by the Previous Settlement Motion Le Decl. ¶¶ 6, 8 and Exs. 1
    7
        Agreement, Neman Brothers sent                  and 4, Dkt. Nos. 35-1, 2 and 6
    8
        InterFocus a letter intended to constitute
    9
        “Adequate Notification” under the PSA on
   10
        or about September 15, 2020 (the
   11
        “September 15 letter”)
   12
         8. The September 15 Letter alleged             Motion Le Decl. ¶ 8, and Exs. 1 and
   13
        infringement of Neman Brothers’ alleged         4, Dkt. Nos. 35-1, 2 and 6.
   14
        copyrights in the following six fabric
   15
        patterns on the following garments:
   16

   17

   18

   19

   20

   21

   22

   23

   24

   25    9. After receiving the September 15            Motion Le Decl. ¶ 7, Dkt. No. 35-1.
   26   Letter, InterFocus immediately launched an
   27

   28
                                                 -44-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                      Undisputed Fact                                   Evidence
    2
        investigation into Neman Brothers’ claims
    3
        in compliance with its obligations
    4
          9. In investigating Neman Brothers’             Motion Le Decl. ¶ 10, Dkt. No. 35-1;
    5
        claims in the September 2015 Letter,              Opposition Le Decl. ¶ 4.
    6
        discovered that it had already removed from
    7
        its platform three of the alleged
    8
        infringements Neman Brothers’ letter
    9
        complained of before it entered into the
   10
        Previous Settlement Agreement as follows:
   11

   12

   13

   14

   15

   16
          10. In response to the September 2015           Motion Le Decl. ¶¶11-12, Dkt. No

   17   Letter, InterFocus also removed from its          35-1.

   18   platform the other three alleged

   19   infringements within seven business days of

   20   receiving the September 15,

   21   Letter as follows:

   22

   23

   24

   25

   26     11. Neman Brothers filed its original           Dkt. No. 1.
   27   complaint herein on December 9, 2020.
   28
                                                   -45-
         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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    1
                       Undisputed Fact                                 Evidence
    2
            12. Neman Brothers’ complaint repeated      Cf. Dkt. No.1 Exs. 1-6 and September
    3
        the allegations of the September 15 letter      15 letter Ex. 1, concurrently filed as
    4
        and Previous Action regarding those three       Ex. 4; Le Decl. ¶ 15.
    5
        released and three cured alleged
    6
        infringements.
    7
            13. Neman Brothers filed a First            Cf. Dkt. No. 10.
    8
        Amended Complaint on January 5, 2021.
    9
            14. Neman Brothers’ First Amended           Cf. Dkt. Nos 1 and 10; Motion Le
   10
        Complaint added new copyright                   Decl. ¶ 16, Dkt. No. 35-1.
   11
        infringement claims about which it never
   12
        sent InterFocus a written notice of alleged
   13
        infringements.
   14
            15. Although it never received an
   15
        “Adequate Notification” regarding the
   16
        copyright infringement claims added in its
   17
        amended complaint, InterFocus removed
   18
        these new alleged infringements from its
   19
        platform as permitted by the “notice and
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        cure” provision of the PSA.
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            STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT BY DEFENDANT INTERFOCUS, INC. IN
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